12/24/2018

Case 2:16-cr-00055-DWA Bo@w€rmentif§s?p@kel§iillw ®YF®QHQ Page 1 of 2

Your most recent health record summary

Clinical summaries Other documents

g%hlbif@

 

Simon Tusha

Baslc lnformatlon About Vou

The information below was updated on August 10, 2018.

 

Name Date Of Birth Street Address City State
Simon Tusha November 3, 1972 1122 Wa|ters Mil| Rd Forest Hill MD
Z|P Code Primary Phone Number Sex Marital Status Preferred Language Race
21050 (443) 807-3595 Male Married English
Ethnicity Patient ldentifier
Not Hispanic or Latino 130018
Clre Team Members
CHESAPEAKE UROLOGY
(410) 825-5454
6535 N CHARLES ST STE 650
BALT|MORE, MDZ 1204
Problems
Name Dates Detai|s

 

 

 

 

 

 

Benign prostatic hyperp|asia with lower urinary tract symptoms, unspecified
morpholog¥ (600.01)

Benign prostatic hypertrophy (BFH) with nocturia (Renamed from Benign prostatic
hypertrophy with nocturia) (600.01, N40.1)

Elevated PSA (Renamed from E|evated prostate specific antigen) (790.93, R97.20)

Erectile dysfunction following radical prostatectomy (607.84, N52.31)
Erecti|e dysfunction following radical prostatectomy (607.84, N52.31)

Hypogonadism male (257.2, E29.1)

Cancer of prostate w/ intermediate risk (TZb-c or G|eason 7 or PSA 10-20) (Renamed
from Malignant neop|asm of prostate with intermediate recurrence risk, stage TZB-C or
G|eason 7 or or prostate-specific antigen 10-20) (185, C61)

Cancer of prostate w/ intermediate risk (TZb-c or G|eason 7 or PSA 10-20) (Renamed
from Ma|ignant neop|asm of prostate with intermediate recurrence risk, stage TZB-C or
G|eason 7 or or prostate-specilic antigen 10-20) (185, C61)

https://www.medfusion.net/chesapeakeurologyassoc-17058/portal/#/ccdlist?isLoadedFromTabs=true

 

Status: Active

Comments: Cystoscopy (2/8/2018) --
moderate lateral lobe obstruction ; bladder
is normal

Status: Active

Comments: status post prostate ultrasound
and biopsy for rising PSA to 3.8
Status: Active

Status: Active
Status: Active
Statu s: Active

Comments: pT2 G|eason 3+4=7, neg
margins/nodes status post robotic
prostatectomy 4/11/18

Status: Active

‘ Status: Active

l/ll

tamm CHS€ 2116-cr-00055-DWA aaamr@lm:eapek¢ellles;l sweeney Pa a 2 al 2
gsc pT2 Gleason 3+4=7

Commen
Cancer of prostate w/intermediate risk (l'Zb-c or Gleason 7 or PSA 10-20) (Renamed ‘ adenocarcinoma of the prostate with
from Malignant neop|asm of prostate with intermediate recurrence risk, stage TZB-C or negative margins status post robotlc

Gleason 7 or or prostate-specific antigen 10-20) (185, C61) ` prostatectomy on 4/11/18
f Status: Active

Cancer of prostate w/intermediate risk (TZb-c or Gleason 7 or PSA 10-20) (Renamed
from Malignant neop|asm of prostate with intermediate recurrence risk, stage TZB-C or . f Status: Active
G|eason 7 or or prostate-specific antigen 10-20) (185, C61) _

No Show Oflice visit Charge Patient (002.0) V~ Status: Active
Nocturiar(788`.43, k35.1) y y , Status: Active
Screening PSA (V76.44, 212.5) f ` Status: Active
Vas deferens stricture (6087.8.5,, N,5`0.89) : Status: Active

Cancer of prostate w/|ow risk (T 1-2a, G|eason<7 & PSA<10) (Renamed from Cancer of

prostate with low recurrence risk) (185, C61) Status: Res°|ved as of 18_Apr_2018

 

 

 

 

 

 

 

 

 

 

Medlcatlons
Name Dates Details
oxycoDoNE Hcl 5 Mc oral Tablet - Historical Medlcation , St?"°jd,n'Ap"Z°ls g Ended zs'Ap"zols
Active Comments: Qty: 30.0 tab
sennosides s.s lle oral Tablet - Historical Medlcacion ` SFa',“"`,d,n‘Ap"Z°lg x E"ded,ZS'Ap"z°ls
Active Comments: Qty: 20.0 tab
Sildenafi| Citrate 20 MG Oral Tablet _
5 Tablet as needed for 30 days ' O"dered '1°°
' Aug-2018 1 Started 10-Aug-201B
Quanti : 40 Refills: 0 Cl a , R n l ~ a ~ ~ » -
§ tv 4 g , 5 MS ry ya Active Comments: Medication taken as needed.
Tamsu|osin HC| 0.4 MG Oral Capsule l
1 (one) Ca sule Ca sule dail , 30 minutes after a meal for 30 da s ' ~ _
p p y y , j’;:f§%dlg" l started z4-lan-2o1s
§ Quantity: 30 Ref`llls: 6

Benner. Pafl'l€ia Actiye Comments: tolerats ok

Tamsu|osin HC| 0.4 MG Oral Capsule

 

 

1 (one) Capsule Capsule daily, 30 minutes after a meal for 30 days t Qrdered ;24_
Quamlry: 30 Refllls‘ 12 ` Ja"“z°ls SFmed zHan'zols
l g ' ` Benner, Patrlcia Active

 

 

 

Tylenol 325 Mc oral Tablet - Historical Madicatlon , : Started 11'Ap"2°18 _ Ended 25"`"'°2°18
l Active Comments: Qty: 60.0 tab

ADVAlR DISKUS, 250-50MCG/DOSE (lnhalation Aerosol Powder Breath y l .
Activated) - Historical Medication nact've

A|butero| 90 MCG/ACT lnha|ation Aerosol Solution - Historical
Medication

lnactive Comments: Medication taken as needed.
1-2 as needed

Cia|is 5 MG Oral Tablet '
1 (one) Tablet daily for 30 days O'der°d 225`

 

 

 

 

 

` _' May_zols y ` Started 75-May-2018 y 'Ended 24-June-2018
Quar\t\fyi 30 R€fi"$i 0 f C|€a\'Yr Ryal’\ lnactive Comments: Daily Dose Cialis for the

 

` MD \ Treatment of ED and BPH

C\PRO, SOOMG (Ora| Tablet)

 

 

 

1 Tab slo for 5 days O'd€fed 11'
~ june-2012 Started 1-June-2012 Ended 6-June-2012
\ Quantlty: 10 ` ReHl|s: 0 Fenlg, David _~ ~ » y y y . t
., _. ., ,, , . v _ l MD macth

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